     Case 4:19-cv-00439-MCR-EMT Document 24 Filed 11/09/20 Page 1 of 2



                                                                          Page 1 of 2

                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION


DAVION HADDEN,

      Petitioner,

v.                                             CASE NO. 4:19cv439/MCR/EMT

SECRETARY FLORIDA
DEPARTMENT OF CORRECTIONS,

     Respondent.
________________________________/

                                   ORDER

      The chief magistrate judge issued a Report and Recommendation on

September 8, 2020. ECF No. 22. The parties were furnished a copy of the Report

and Recommendation and afforded an opportunity to file objections pursuant to Title

28, United States Code, Section 636(b)(1). I have made a de novo determination of

all timely filed objections. See ECF No. 23.

      Having considered the Report and Recommendation, and any timely filed

objections thereto, I have determined the Report and Recommendation should be

adopted.
      Case 4:19-cv-00439-MCR-EMT Document 24 Filed 11/09/20 Page 2 of 2



                                                                     Page 2 of 2

       Accordingly, it is now ORDERED as follows:

       1.     The chief magistrate judge’s Report and Recommendation, ECF No.

22, is adopted and incorporated by reference in this Order.

       2.     The amended petition for writ of habeas corpus, ECF No. 3, is

DENIED.

       3.     A certificate of appealability is DENIED.

       DONE AND ORDERED this 9th day of November 2020.




                                        s/   M. Casey Rodgers
                                       M. CASEY RODGERS
                                       UNITED STATES DISTRICT JUDGE




Case No. 4:19cv439/MCR/EMT
